      Case: 5:19-cr-00010-JMH-MAS Doc #: 71 Filed: 02/19/19 Page: 1 of 1 - Page ID#: 244
                                      UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF KENTUCKY
                                     CENTRAL DIVISION AT LEXINGTON
                                    CRIMINAL MINUTES –ARRAIGNMENT

Lexington Case No. 19-10-JMH-MAS-S-1         At Lexington                     Date February 19, 2019

USA vs Beniamin-Filip Ologeanu             X present       X custody           bond          OR      Age

DOCKET ENTRY: Parties appeared as noted for Arraignment on the Superseding Indictment. Romanian certified
Interpreter, Liviu-Lee Roth, was present to interpret the proceedings. A copy of his oath will be filed in the record

PRESENT: HON. JOSEPH M. HOOD, SENIOR U.S. DISTRICT JUDGE




              Genia Denisio       Linda Mullen        Liviu-Lee Roth      Kathryn Anderson/Kenneth Taylor
              Deputy Clerk        Court Reporter        Interpreter            Assistant U.S. Attorney


             Counsel for Defendant David J. Guarnieri
                                   Trevor Nichols                 X present    X retained         appointed

PROCEEDINGS: ARRAIGNMENT ON SUPERSEDING INDICTMENT

  X      Copy of Superseding Indictment given to the defendant.
  X      Defendant states true name is as stated on Superseding Indictment.
         Defendant advised the Court that he/she will retain counsel.
         Defendant request that the Court appoint counsel.
         Financial Affidavit previously executed & filed.
         Court FINDS defendant qualifies for Court Appointed Counsel under provision of CJA.
         Ordered is appointed Attorney under the CJA.
  X      Defendant advised of Constitutional Rights.
  X      Defendant waived formal arraignment
  X      Defendant waives reading of Superseding Indictment - Information.              Indictment - Information read.
         Defendant pleads_____________Guilty to Counts. x Not guilty to Counts - ALL
  X      Defendant advised of the nature of charges and possible penalties.
  X      Pretrial motions to be filed pursuant to Court’s pretrial order to be entered.
         Court assigned for JURY TRIAL on AUGUST 7, 2019 AT 9:00 A.M., before Judge Joseph M. Hood. The
  X      estimated length of trial is two (2) weeks.
         Defendant released on conditions.
  X      Defendant remanded to custody of the USM.
Copies: COR, USP, USM, D,JC

Initials of Deputy Clerk   gld
TIC: /5 min
